Case 2:12-md-02323-AB Document 3591-3 Filed 08/30/12 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE | No. 2:12-md-02323-AB

PLAYERS’ CONCUSSION INJURY

LITIGATION MDL No. 2323

THIS DOCUMENT RELATES TO:
Alexander, et al. v. The National Football
League, No. 12-cv-01923

Myers v. The National Football League, No.
12-cv-01424

Schobel v. National Football League, No.
12-cv-02801

DECLARATION OF ANASTASIA DANIAS

ANASTASIA DANIAS, being duly sworn, deposes and says:
1. I am Vice President of Legal Affairs for the National Football

League (the “NFL”). I make this declaration, on personal knowledge, in support of the
NFL’s Motion to Dismiss Plaintiffs’ Complaints.

2. Upon information and belief, the NFL has not been served with a
copy of the summons and complaint in Myers v. The National Football League, No. 12-
cv-01424,

3. Upon information and belief, the NFL has not been served with a
copy of the summons and complaint in Alexander, et al. v. The National Football
League, No. 12-cv-01923.

4. Upon information and belief, the NFL has not been served with a
copy of the summons and complaint in Schobel v. National Football League, No. 12-cv-

02801.
Case 2:12-md-02323-AB Document 3591-3 Filed 08/30/12 Page 2 of 2

I declare under penalty of perjury that the foregoing is true and correct.

Executed on Aux, 30 LOea at ee York. \)
Ata elaove \ Jo

Anastasia Danias

